Case 4:09-cr-00043-SPF  Document 288-2
         Case 3:04-cv-00782-DRH        Filed37
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ARTHUR M. HAWKINS,                                  )
                                                      )
         Petitioner-Defendant,                        )
                                                      )
  vs.                                                 )            No. 04-cv-782-DRH
                                                      )
  UNITED STATES OF AMERICA,                           )
                                                      )
         Respondent-Plaintiff.                        )



                                      JOINT STATUS REPORT

         Petitioner-Defendant Arthur M. Hawkins, by and through his attorney Susan G. James, and

  Respondent-Plaintiff United States of America, by and through it attorneys, A. Courtney Cox,

  United States Attorney for the Southern District of Illinois, and William E. Coonan, Assistant

  United States Attorney, respectfully file their joint status report in accordance with this Court’s

  Order of May 11, 2009.

         1.      In the Court’s Order of May 11, 2009, the Court stated that on or before

  November 13, 2009, one of the following must occur:

                 a.      the parties file a new status report;

                 b.      the Government file a Rule 35 Motion; or

                 c.      a dismissal of this case [shall occur].

         2.      The parties are in contact with each other and have been discussing the status of the

  case as well as the possibility of the filing of a substantial assistance motion pursuant to Rule 35 of

  the Federal Rules of Criminal Procedure at the end of the trial in the Northern District of

  Oklahoma.
Case 4:09-cr-00043-SPF  Document 288-2
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         3.       A jury was selected in the trial of United States v. Springer, et al.,

  No. 4:09-00043-SPF, in the Northern District of Oklahoma in Tulsa, Oklahoma. Discussions with

  Kenneth Snoke, Assistant United States Attorney and lead attorney for the Government, and

  Hawkins’ counsel, indicate that the trial will last several weeks and that over 60 witnesses have

  been subpoenaed to testify, including Art Hawkins and his wife, Cindy Hawkins. It is anticipated

  that the trial will extend well past the date of November 13, 2009, set out in this Court’s order of

  May 11, 2009.

         4.       The parties request an extension of time to not later than December 15, 2009, in

  which to resolve the Rule 35 issue, giving the prosecutors in Tulsa an appropriate amount of time

  to evaluate the testimony of Art Hawkins and to provide a letter pursuant to Rule 35 to the Assistant

  United States Attorney’s office in the Southern District of Illinois, at the end of the trial in the

  Northern District of Oklahoma.

         Wherefore, the parties respectfully file their status report.

  Respectfully submitted,

  ARTHUR M. HAWKINS                                     A. COURTNEY COX
  Petitioner-Defendant                                  United States Attorney
                                                        Southern District of Illinois

  /s/ Susan G. James 1                                  /s/ William E. Coonan
  SUSAN G. JAMES                                        WILLIAM E. COONAN
  Attorney at Law                                       Assistant United States Attorney
  600 South McDonough Street                            Nine Executive Drive
  P.O. Box 198                                          Fairview Heights, Illinois 62208-1344
  Montgomery, Alabama 36104                             618.628.3700 (telephone)
  205.269.3330 (telephone)                              618.622.3810 (fax)
  205.269.3334 (fax)                                    Liam.Coonan@usdoj.gov
  sgjamesandassoc@aol.com


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        On November 12, 2009, 4:37 p.m., Attorney Susan G. James gave her consent for
  AUSA Coonan to sign on her behalf.

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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  ARTHUR M. HAWKINS,                               )
                                                   )
         Petitioner-Defendant,                     )
                                                   )
  vs.                                              )          No. 04-cv-782-DRH
                                                   )
  UNITED STATES OF AMERICA,                        )
                                                   )
         Respondent-Plaintiff.                     )


                                 CERTIFICATE OF SERVICE

          Pursuant to SDIL-LR 7.1(b) and E-Filing Rule 8, I hereby certify that on November 13,
  2009, I electronically filed the foregoing JOINT STATUS REPORT with the Clerk of Court using
  the CM/ECF system which will send notification of such filings to the following individual:

         Susan G. James, Esq., Attorney for Petitioner: sgjamesandassoc@aol.com


                                                       Respectfully submitted,

                                                       A. COURTNEY COX
                                                       United States Attorney
                                                       Southern District of Illinois


                                                       /s/ William E. Coonan
                                                       WILLIAM E. COONAN
                                                       Assistant United States Attorney
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                                                       Liam.Coonan@usdoj.gov




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